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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

Plaintiff,

vs.

JESUS ORLANDO MENDEZ-
VELASQUEZ, et al.,

Defendants.                                              No. 12-cr-30242-DRH-7

                                     ORDER

Herndon, Chief Judge:

      Before the Court is defendant Juan Miguel Mendez-Velazquez’ motion to

transfer to a federal medical center for necessary treatment (Doc. 132). Defense

counsel relates that defendant is suffering from sharp and consistent headaches,

which counsel presumably attributes to defendant’s previous brain surgery.

Further, defense counsel states defendant was set to undergo a follow up

examination prior to his arrest, but that he missed this appointment. On this

basis, defendant and counsel request that defendant be temporarily transferred to

a medical center so that proper testing can be conducted. The U.S. Marshal

Service is charged with defendant’s care. The Court is not aware of, and defendant

has not directed it to, authority for defendant’s requested relief. Thus, the Court

DENIES defendant’s motion to transfer to a federal medical center for necessary

treatment (Doc. 132).
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      However, due to defendant’s medical history and complaints, the Court

DIRECTS the U.S. Marshal Service to have defendant examined locally, as soon

as practicable, to determine the source of defendant’s current medical issues.

      Further, defendant and counsel have previously and instantly reported

numerous difficulties in obtaining defendant’s medical records relevant to his

brain surgery from the University of Utah Medical Center. In light of these

difficulties and most significantly their impediment to this Court’s resolution of

the instant proceedings, the University of Utah Medical Center is ORDERED to

immediately provide defendant and/or his counsel with defendant’s medical

records relevant to his brain surgery which according to family members

occurred in October, 2011.

      IT IS SO ORDERED.                                               Digitally signed by
                                                                      David R. Herndon
      Signed this 4th day of February, 2013.
                                                                      Date: 2013.02.04
                                                                      16:21:35 -06'00'
                                                   Chief Judge
                                                   United States District Court




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